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                UNITED STATES DISTRICT COURT

                SOUTHERN DISTRICT OF GEORGIA

                         SAVANNAH DIVISION

CRAIG HERMAN GOODWIN,

      Movant,

v.                                             Case No. CV416-132
                                                        CR408-315
UNITED STATES OF AMERICA,

      Respondent.

                    REPORT AND RECOMMENDATION

      Having pled guilty to, and been sentenced for, conspiracy to possess

with intent to distribute and to distribute cocaine, (doc. 856 (plea

agreement) 1 , doc. 887 (judgment)), Craig Goodwin moves under 28

U.S.C. § 2255 for resentencing absent a career offender sentencing

enhancement. Doc. 1568. Preliminary review under Rule 4 of the Rules

Governing Section 2255 Proceedings shows that his motion must be

denied.

      Goodwin’s Presentence Investigation Report (PSR) deemed him a

career offender under U.S.S.G. § 4B1.1, based on prior convictions for


1
 All citations are to the criminal docket unless otherwise noted and all page
numbers are those imprinted by the Court’s docketing software.
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cocaine possession with intent to distribute and felony fleeing to elude

law enforcement. PSR ¶ 23. After adopting the PSR, the Court

sentenced him to 163 months’ imprisonment. Doc. 887 (entered

December 15, 2009). Because he never appealed, Goodwin’s conviction

became final on December 29, 2010. Fed. R. App. P. 4(b)(1)(A) (criminal

defendants must file a notice of appeal within 14 days of the entry of

judgment).

      Goodwin filed the instant § 2255 motion more than five years later.

Doc. 1568 at 12 (filed June 2, 2016). He argues that Johnson v. United

States , ___ U.S. ___, 135 S. Ct. 2551 (2015), eliminates his fleeing to

elude conviction as a predicate offense for his 4B1.1 enhancement, and

thus that he no longer qualifies as a career offender. Doc. 1569 at 4. He

premises his motion’s timeliness on Johnson retroactively applying to his

case. See 28 U.S.C. § 2255(f)(3); Welch v. United States , 136 S. Ct. 1257,

1265 (2016) ( Johnson is a new substantive rule and thus applies

retroactively to cases on collateral review).

      The Armed Career Criminal Act (“ACCA”) -- the statute Johnson

addressed -- provides enhanced penalties for defendants who are (1)

convicted of being felons in possession of firearms in violation of 18
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U.S.C. § 922(g) and (2) have “three prior convictions . . . for a violent

felony or a serious drug offense, or both.” It defines “violent felony” as,

among other things, a felony that “otherwise involves conduct that

presents a serious potential risk of physical injury to another.”   Id. at §

924(e)(2)(B). Johnson found that “residual” clause so vague as to violate

due process. See 135 S. Ct. at 2557.

     The Sentencing Guidelines career offender enhancement’s “crime

of violence” definition includes the same vague residual clause that

Johnson found unconstitutional. U.S.S.G. § 4B1.2(a)(2). If (1) Johnson ’s

animating logic applies to the Guidelines, and (2) Goodwin’s fleeing to

elude conviction qualifies as a “crime of violence” under § 4B1.1’s

residual clause, his career offender enhancement is unconstitutional.

     At least in this circuit, Johnson does not apply to the Guidelines.

  By its terms, the decision of the Supreme Court in Johnson is
  limited to criminal statutes that define elements of a crime or fix
  punishments. . . . The Armed Career Criminal Act defines a crime
  and fixes a sentence, see 18 U.S.C. § 924(e), but the advisory
  guidelines do neither.

  The Sentencing Guidelines are merely “the starting point and the
  initial benchmark,” Gall v. United States , 552 U.S. 38, 49, 128 S.Ct.
  586, 596, 169 L.Ed.2d 445 (2007), designed to “assist . . . the
  sentencing judge” in determining a sentence, United States v.
  Tichenor , 683 F.3d 358, 364 (7th Cir. 2012) (quoting United States
  v. Brierton , 165 F.3d 1133, 1139 (7th Cir. 1999)). In the end, a
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  sentencing judge “must make an individualized assessment based
  on the facts presented” and “may not presume that the Guidelines
  range is reasonable.” Gall, 552 U.S. at 50, 128 S.Ct. at 596–97.
  “The sentencing judge’s authority to exercise discretion
  distinguishes the Guidelines from criminal statutes in a significant
  and undeniable manner.” Tichenor , 683 F.3d at 365.

  The vagueness doctrine, which “rest[s] on [a] lack of notice,”
  Maynard v. Cartwright , 486 U.S. 356, 361, 108 S.Ct. 1853, 1857,
  100 L.Ed.2d 372 (1988), does not apply to advisory guidelines. The
  Supreme Court has explained that “[a]ny expectation subject to
  due process protection . . . that a criminal defendant would receive
  a sentence within the presumptively applicable guideline range did
  not survive [the] decision in United States v. Booker .” Irizarry v.
  United States , 553 U.S. 708, 713, 128 S.Ct. 2198, 2202, 171 L.Ed.2d
  28 (2008). Another circuit has already held that “[s]ince the
  Guidelines are merely advisory, defendants cannot rely on them to
  communicate the sentence that the district court will impose.
  Defendants’ inability to look to the Guidelines for notice
  underscores why . . . they cannot bring vagueness challenges
  against the Guidelines.” Tichenor , 683 F.3d at 365 (footnote
  omitted).

  ‘Because there is no constitutional right to sentencing guidelines—
  or, more generally, to a less discretionary application of sentences
  than that permitted prior to the Guidelines—the limitations the
  Guidelines place on a judge’s discretion cannot violate a
  defendant’s right to due process by reason of being vague.’ United
  States v. Wivell , 893 F.2d 156, 160 (8th Cir. 1990).

United States v. Matchett , 802 F.3d 1185, 1194-95 (11th Cir. 2015); In re:

Marvin Griffin , ___ F.3d ___, 2016 WL 3002293 at * 4 (11th Cir. May 25,

2016) (even mandatory sentencing guidelines cannot be

unconstitutionally vague).


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      It follows that Goodwin cannot look to Johnson and § 2255(f)(3) to

define when his one-year statute of limitations began to run. Instead,

he’s relegated to § 2255(f)(1), which dictates that the clock started the

day his conviction became final (December 29, 2010). It ran out on

December 29, 2011 (he never appealed or sought post-conviction relief

before now), so his motion is untimely by over four years. 2

      Accordingly, Goodwin’s § 2255 motion should be DENIED .

Applying the Certificate of Appealability (COA) standards set forth in

Brown v. United States , 2009 WL 307872 at * 1-2 (S.D. Ga. Feb.9, 2009),

the Court discerns no COA-worthy issues at this stage of the litigation,

so no COA should issue either. 28 U.S.C. § 2253(c)(1); Rule 11(a) of the

Rules Governing Habeas Corpus Cases Under 28 U.S.C. § 2255 (“The

district court must issue or deny a certificate of appealability when it

enters a final order adverse to the applicant.”) (emphasis added). Any

motion for leave to appeal in forma pauperis therefore is moot.




2
 Goodwin also fails to demonstrate (indeed, he never raises the issue) eligibility for
equitable tolling of the limitations period. See Lucas v. United States , 522 F. App’x
556, 559 (11th Cir. 2013).
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     SO REPORTED AND RECOMMENDED this 20th day of

June, 2016.




                                    UNiTED STATES MAGISTRATE JUDGE
                                    SOUTHERN DISTRICT OF GEORGIA
